           Case 1:22-mj-00136-ZMF Document 9 Filed 08/31/22 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      :
                                               :
      v.                                       : Case No. 1:22-mj-00136-ZMF
                                               :
TYRONE MCFADDEN, JR.,                          :
    Defendant.                                 :


                           NOTICE OF APPEARANCE

      COMES NOW, Allen H. Orenberg and, pursuant to the Criminal Justice Act,

hereby enters his appearance on behalf of the Defendant, Tyrone McFadden, Jr.,

nunc pro tunc to August 15, 2022, in the above-captioned criminal cause.

                                      Respectfully Submitted,




                                      Allen H. Digitally       signed
                                                      by Allen H.

                                      Orenbe Orenberg Date:

                                      rg              2022.08.31
                                                      15:20:41 -04'00'
                                      _____________________________
                                      Allen H. Orenberg, # 395519
                                      The Orenberg Law Firm, P.C.
                                      12505 Park Potomac Avenue, 6 th Floor
                                      Potomac, Maryland 20854
                                      Tel. No. 301-984-8005
                                      Cell Phone No. 301-807-3847
                                      Fax No. 301-984-8008
                                      aorenberg@orenberglaw.com




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                             CERTIFICATE OF SERVICE

      I hereby certify that on the 31st day of August, 2022, a copy of the foregoing Notice of

Appearance, was delivered to case registered parties by the CM/ECF court system.




                                           Allen H. Digitally          signed
                                                              by Allen H.
                                           Orenber Orenberg   Date: 2022.08.31
                                           g______________________________
                                                              15:20:57 -04'00'
                                               Allen H. Orenberg




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